                                                                                                       Case 23-01005-nmc             Doc 6   Entered 03/14/23 15:52:47    Page 1 of 2




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                                                                                                  7
                                                                                                  8                              UNITED STATES BANKRUPTCY COURT
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                                  9                                          DISTRICT OF NEVADA
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                                                                                                 10    In re:                                          Case No. BK-S-21-12443-NMC
HOUMAND LAW FIRM, LTD.




                                                                                                                                                       Chapter 7
                                                                                                 11    MONEYLINE ANALYTICS, LLC,

                                                                                                 12                    Debtor.                         Adv. Proc. No. 23-01005-NMC
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                                                                                                 13    SHELLEY D. KROHN, Chapter 7 Trustee,            NOTICE OF DISMISSAL PURSUANT
                                                                                                 14                                                    TO FEDERAL RULE OF CIVIL
                                                                                                                        Plaintiff,                     PROCEDURE 41 AND FEDERAL RULE
                                                                                                       v.
                                                                                                 15                                                    OF BANKRUPTCY PROCEDURE 7041
                                                                                                       LEO J. TERRELL, an Individual,
                                                                                                 16
                                                                                                                        Defendant.                     Date of Hearing:      N/A
                                                                                                 17                                                    Time of Hearing:      N/A
                                                                                                 18
                                                                                                 19                                                    Judge: Honorable Natalie M. Cox

                                                                                                 20
                                                                                                 21             Shelley D. Krohn (the “Trustee”), the duly appointed Chapter 7 Trustee in the above-
                                                                                                 22   captioned bankruptcy case, by and through her counsel, Jacob L. Houmand, Esq. and Bradley G.
                                                                                                 23   Sims, Esq. of the Houmand Law Firm, Ltd., hereby dismisses all claims alleged against Leo J.
                                                                                                 24   Terrell (the “Defendant”) in the Complaint For: (1) Avoidance of Fraudulent Transfers Pursuant
                                                                                                 25   to 11 U,S.C. § 544(b) and NRS Chapter 112.180(1)(a); (2) Avoidance of Fraudulent Transfers
                                                                                                 26   Pursuant to 11 U,S.C. § 544(b) and NRS Chapter 112.180(1)(b); (3) Avoidance of Fraudulent
                                                                                                 27   Transfers Pursuant to 11 U.S.C. § 548; and (4) Recovery of Bankruptcy Estate Property Pursuant
                                                                                                 28   to 11 US.C. § 550 [Adv. ECF No. 1] (the “Complaint”). The dismissal of claims against the
                                                                                                                                                      -1-
                                                                                                       Case 23-01005-nmc        Doc 6    Entered 03/14/23 15:52:47      Page 2 of 2




                                                                                                  1   Defendant is pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), made applicable to this

                                                                                                  2   adversary proceeding by Federal Rule of Bankruptcy Procedure 7041, which permits a plaintiff to

                                                                                                  3   dismiss an action without court order by filing “a notice of dismissal before the opposing party

                                                                                                  4   serves either an answer or a motion for summary judgment.” As of the filing of this Notice, the

                                                                                                  5   Defendant has not filed an answer or motion for summary judgment.

                                                                                                  6          Dated this 14th day of March, 2023.

                                                                                                  7                                                  HOUMAND LAW FIRM, LTD.

                                                                                                  8
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                                                                                     By: /s/ Bradley G. Sims
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                                                                                                 13                                                  Counsel for Shelley D. Krohn, Chapter 7 Trustee

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